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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         v.                                         )         Civil Action No. 20-1580 (RCL)
                                                    )
 JOHN R. BOLTON,                                    )
                                                    )
                Defendant.                          )
                                                    )

                 PLAINTIFF’S OPPOSITION TO MOTION FOR ACCESS
                    TO CLASSIFIED HEARING AND MATERIALS

       Defendant moved the Court for “access to the classified declarations filed by the

Government . . . and to permit [Defendant] and his counsel to participate in any classified hearings

this Court holds.” ECF No. 25 at 1. With respect to the Government’s Emergency Application for

Temporary Restraining Order and Motion for Preliminary Injunction (“Application”), the motion

is now moot. The Court held an in camera, ex parte hearing regarding the classified evidence

presented in support of the Application, and issued a ruling. ECF No. 27. At just two pages in

length, Defendant’s motion is not a serious effort to litigate all of the complicated legal questions

arising from access to classified information by litigants and their counsel. Moreover, at this early

stage of proceedings, it is not necessarily the case that the Court will have to resolve the factual

question of whether Defendant’s manuscript contains classified information in order to reach a

conclusion on the merits of the Government’s claims. Therefore, as it relates to the Government’s

Application, the Court should deny the motion as moot, and otherwise deny the motion without

prejudice to reserve this issue for a more appropriate juncture in the case, if necessary.
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Dated: June 23, 2020                     Respectfully submitted,

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